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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 RODRICK BRAYBOY,                                                  CIVIL ACTION

                  Petitioner,
                                                                   NO. 23-2475-KSM
            v.

 S.C.I. MAHANOY, et al.,

                  Respondents.


                                                  ORDER

        AND NOW this 20th day of February, 2025, upon consideration of Petitioner Rodrick

Brayboy’s Petition for Writ of Habeas Corpus (Doc. Nos. 1, 23, 26), Motion for Summary

Judgment (Doc. No. 16), Motion to Amend Findings (Doc. No. 19), Motion for Judgment of

Acquittal (Doc. No. 20), the Commonwealth’s opposition briefs (Doc. Nos. 36, 64), the Report

and Recommendation of the Honorable Lynne A. Sitarski (“R&R”) (Doc. No. 79), and

Petitioner’s Objections to the R&R (Doc. No. 83), it is ORDERED as follows:

        1.       The Report and Recommendation is APPROVED and ADOPTED. 1

        2.       The Petition for Writ of Habeas Corpus is DENIED WITH PREJUDICE.

        3.       There is no probable cause to issue a certificate of appealability. 2


       The Court adopts the R&R subject to the modifications explained in the accompanying
        1

Memorandum.
        2
           Because jurists of reason would not debate the procedural or substantive dispositions of
Petitioner’s claims, no certificate of appealability should be granted. See Slack v. McDaniel, 529 U.S.
473, 484 (2000) (“Where a district court has rejected the constitutional claims on the merits, the showing
required to satisfy § 2253(c) is straightforward: The petitioner must demonstrate that reasonable jurists
would find the district court’s assessment of the constitutional claims debatable or wrong. . . . When the
district court denies a habeas petition on procedural grounds without reaching the prisoner’s underlying
constitutional claim, a COA should issue when the prisoner shows, at least, that jurists of reason would
find it debatable whether the petition states a valid claim of the denial of a constitutional right and that
jurists of reason would find it debatable whether the district court was correct in its procedural ruling.”).
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       4.     Petitioner’s Motion for Summary Judgment is DENIED.

       5.     Petitioner’s Motion to Amend Findings is DENIED.

       6.     Petitioner’s Motion for Judgment of Acquittal is DENIED.

       IT IS FURTHER ORDERED that upon consideration of Petitioner’s Request for

Default Judgment (Doc. No. 89) and Motion for Relief from the R&R Pursuant to Federal Rule

of Civil Procedure 60(b) (Doc. No. 93):

       1.     Petitioner’s Request for Default Judgment is DENIED.

       2.     Petitioner’s Motion for Relief from the R&R Pursuant to Federal Rule of Civil

              Procedure 60(b) is DENIED.

       3.     The Clerk of Court shall mark this case CLOSED.

IT IS SO ORDERED.

                                                  /s/ Karen Spencer Marston
                                                  ______________________________
                                                  KAREN SPENCER MARSTON, J.




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